2/13/23, 2:41 PM                                        Case 1:22-cv-08478-VSB Document   30-16
                                                                                  DAI FONDEN        FiledØ02/14/23
                                                                                             in Copenhagen - CVR API Page 1 of 3


         THE DAI FOUNDATION
            CVR number                   40645799                                               September 2022                          2 employees


            Start date                   21/06 - 2019                                           June 2022                               2 employees


            Address                      c/o Samar Law Advokatanpartsselskab                    March 2022                              2 employees
                                         Ryesgade 74
                                         2100 Copenhagen Ø                                      December 2021                           2 employees


            commune                      Copenhagen                                             September 2021                          1 employee



              Do you want to cooperate with the DAI FONDEN? Buy a credit report                 Real owners           Hans Henrik Hoffmeyer
              so you can be confident in your decision.                                                               Poppel Alle 28
                                                                                                                      3500 Værløse, Hareskov
                   Buy credit report                                                                                  Start: 21.06.2019


                                                                                                                      Søren Peter Nielsen
                                                                                                                      Blankavej 19, 3. th.
              Get notified when DAI FONDEN submits accounts, moves or closes.                                         2500 Valby
                                                                                                                      Start: 21.06.2019
                   Enter your email                   Register
                                                                                                                      Payam Samarghandi
                                                                                                                      Ceresvej 8, 1
            Status                   Active
                                                                                                                      1863 Frederiksberg C
                                                                                                                      Start: 21.06.2019
            Business                620900 Other IT services
                                                                                                                      Jacek Aleksander Czarnecki
                                                                                                                      Start: 08.06.2022
            Company                 90 Foundations and other independent institutions
            form                    (FON)
                                                                                                                      Wouter Kampmann
                                                                                                                      Start: 21.06.2019
            E-mail                        payam@samarlaw.dk
                                                                                                                      Paul Imseih Salem
                                                                                                                      Start: 23.01.2023



              Tax payments


              The company's tax payment falls under Section 1.1.1 of the Norwegian Funds Taxation Act. Total contribution is DKK 0.

              All figures are in DKK.



            Tax year                          Taxable income                       Corporation tax paid                             Loss deducted


            2020                              0                                    0                                                0


            2019                              0                                    0                                                0


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https://cvrapi.dk/virksomhed/dk/dai-fonden/40645799                                                                                                   1/1
                    Case 1:22-cv-08478-VSB Document 30-16 Filed 02/14/23 Page 2 of 3




From: Payam Samarghandi <payam@samarlaw.dk>
Date: Thursday, December 15, 2022 at 3:51 AM
To: David Boag <dab@boagip.com>
Subject: True Return Systems, LLC v. MakerDAO

Dear David A. Boag



I am referring to the case No. 22-cv-8478 (S.D.N.Y filed Oct 5, 2022), True Return Systems, LLC v. MakerDAO.



I relation to the case, I have been contacted by a group of individuals, who has an interest in the case, and who is
considering to file an amicus brief.



Given the complexity of the case and in order to ensure sufficient of time to prepare the amicus brief, I kindly ask you to
approve a 60 days extension of the deadline. I kindly also ask you to disclose the e-mail to the court prior to the expiration
of the deadline.



Venlig hilsen/Kind regards




Payam Samarghandi
Advokat / Attorney
Direct: +45 6079 3777
Read profile here

www.samarlaw.dk
                    Case 1:22-cv-08478-VSB Document 30-16 Filed 02/14/23 Page 3 of 3


David Boag <dab@boagip.com>                                                     Tue, Dec 20, 2022 at 8:12 AM
To: Payam Samarghandi <payam@samarlaw.dk>


 Payam,


 Thank you for your email. I was out for a few days.


 The Federal Rules of Civil Procedure and the Local Rules are silent on the filing of amicus briefs in
 district court and we are not aware of any mechanism by which we could grant such an extension,
 even if we were inclined to do so. We recommend that you contact the Court directly or enlist local
 counsel.


 Regards,
 David



 David A. Boag
 BOAG LAW, PLLC
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 New York, NY 10013
 +1.212.203.6651
 dab@boagip.com
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